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                                  STATEMENT OF FACTS

        Your affiant,                   is a Special Agent assigned to the Cleveland Division,
Canton Resident Agency of the Federal Bureau of Investigation and have held that position for
approximately 18 years. In my duties as a Special Agent during that time, I have participated in
investigations of, among other things, violent crimes, threats, gangs, drugs, domestic and
international terrorism, and other federal offenses, including the execution of arrest and search
warrants. Currently, I am tasked with investigating criminal activity in and around the Capitol
grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a Government
agency to engage in or supervise the prevention, detection, investigation, or prosecution of a
violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in the United States Capitol to certify the vote count of the Electoral College of the 2020
Presidential Election, which had taken place on November 3, 2020. The joint session began at
approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and Senate
adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was
present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
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                Figure 2: MILLER (circled in red) outside of Senate Wing Door.

         At appromexiately 2:21 p.m., closed-circuit TV (CCTV) footage shows that MILLER
entered the U.S. Capitol through a broken window next to the Senate Wing Door (Figure 3). The
Senate Wing Door is located on the northwest quadrant of the Capitol building and was the site of
the first breach of the Capitol on January 6, 2021. CCTV footage shows that rioters kicked down
and smashed the Senate Wing Door and adjoining windows at approximately 2:14 p.m., only seven
minutes before MILLER entered, scattering shattered glass inside the Capitol and causing a loud
alarm to sound for several hours.
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Figure 3: MILLER (circled in red and carrying a flag climbs through the browken window next
                                  to the Senate Wing Door

        At approximately 2:21 p.m., MILLER climbed through the smashed window just to the left
of the door (as seen from the outside). He wore a dark colored jacket, wore a gas mask and goggles,
and carried an American flag. As MILLER climbed into the Capitol building, he was amidst a
crowd of rioters. Initially, he turned left, but he quickly turned around and walked back towards
the Senate Wing Door. As MILLER passed back in front of the Senate Wing Doors, he walks into
a physical confrontation between a camera crew and a highly agitated rioter. MILLER appears to
speak to the agitated rioter to tell him to calm down.. This interaction was captured on CCTV
footage (Figure 4) and open source video (Figure 5).
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Figure 4: MILLER (circled in red) seen by CCTV cameras in front of the Senate Wing Door after
               being part of confrontation between rioters and a camera crew.




     Figure 5: MILLER (with goggles) in front of the Senate Wing Door after being part of
                    confrontation between rioters and a camera crew.

         After witnessing the confrontation, MILLER once again walked North towards the Senate
side of the building. But, at approximately 2:24 p.m., he once again turned back towards the Senate
Wing Door. MILLER proceeded to enter the Crypt approximately one minute later, where he was
captured on CCTV moving towards the crowd at the foreground of the video.
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                          Figure 6: ANDREW MILLER in the Rotunda

        At approximately 2:34 p.m., MILLER was again captured on CCTV footage in the Crypt.
MILLER walked East towards the camera. He abandoned his flagpole next to a pillar and, for
several minutes, spoke to other rioters while he scrolled through his phone. One of these rioters
was the same man who was involved in the altercation that MILLER witnessed near the Senate
Wing Doors. At approximately, 2:38 p.m., MILLER made a phone call in the Crypt. Two minutes
later, MILLER left the Crypt via the North exit, leaving his flag behind.
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              Figure 7: ANDREW MILLER dropping his flagpole in the Rotunda.

        At approximately 2:42 p.m., MILLER returned to the Senate Wing Door hallway, which
police were in the process of evacuating. Chemical spray was visible in the air and MILLER wore
his gas mask. MILLER appeared to speak to officers as he waited to leave the building. As he
attempted to leave, officers and rioters attempting to enter the building got into a shoving match
while MILLER stood between them, leading to MILLER being shoved. At approximately 2:43
p.m., MILLER exited the Capitol building by climbing out one of the broken windows next to the
Senate Wing Door.




      Figure 8: ANDREW MILLER waiting to exit the Capitol via the Senate Wing Doors.
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                              Investigation of ANDREW MILLER

       Through legal process, I identified three email addresses that were connected to a telephone
number registered to ANDREW MILLER. These email addresses were further connected to a
mobile device which, according to records obtained through a search warrant which was served
on Google, was present inside the restricted Capitol grounds between 1:43 p.m. and 3:03 p.m. on
January 6, 2021. I reviewed MILLER’s driver’s license photo and the images of MILLER in the
Capitol and determined that these images depicted the same person.

        On October 25, 2023, I interviewed MILLER at his residence. MILLER was shown a
photograph taken inside of the Capitol of the individual I believed to be him. Initially, MILLER
stated that it could “possibly” been him in the photograph. Afterwards, as the conversation
continued, MILLER admitted to being in the Capitol Building. MILLER refused to provide the
names of the individuals that he traveled to Washington, D.C. with on the morning of January 6.
2021.

        In this interview, Miller stated that he entered through one set of doors and exited through
a different set of doors. MILLER was unsure which doors he had entered and exited. I asked about
the respirator mask and goggles he brought into the Capitol Building, MILLER claimed he brought
these items because he was anticipating trouble from Antifa groups. MILLER told me that he had
taken videos in the Capitol, though he said he later deleted all the videos from the Capitol. He
stated he uploaded these videos to the Google Cloud. Later, MILLER told the FBI that he searched
for those videos but could not locate these videos on the cloud, and thought they may have been
deleted.

        Based on the foregoing, I submit that there is probable cause to believe that ANDREW
MILLER violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly enter
or remain in any restricted building or grounds without lawful authority to do so; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions or attempts or conspires to do so.
For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.

        I submit there is also probable cause to believe that ANDREW MILLER violated 40 U.S.C.
§ 5104(e)(2)(D) & (G), which makes it a crime to willfully and knowingly (D) utter loud,
threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place in the
Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the orderly
conduct of a session of Congress or either House of Congress, or the orderly conduct in that
building of a hearing before, or any deliberations of, a committee of Congress or either House of
Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.
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                                                    FEDERAL BUREAU OF
                                                    INVESTIGATION

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 1st day of April 2024.
                                                                    Zia M.
                                                                    Faruqui
                                                    ___________________________________
                                                    ZIA M. FARUQUI
                                                    U.S. MAGISTRATE JUDGE
